Case 2:05-cr-20111-.]DB Document 57 Filed 06/24/05 Page 1 of 1 Page|D 62

E:-`P_ED `:'»`v' ,. ., /Yb_ {.:’-C-

UNITED STATES DISTRICT COURT

WESTERN DISTRICT oF TENNESSEE 05 JUH 25 PH 31 20
Western Division '
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Thomas M. Gould, Clerk puty-in- -Charge

 

242 F ederal Buih!'ing U. S. Cvurthause, Room 262

167 N. Main Street 111 South Highland Avenue

Memphis, Tennessee 38103 Jackson, Tennessee 38301

(901) 495-1200 (713) 421 -9200
NOTICE OF SETTING

Before Judge J. Daniel Breen, United States District Judge

 

June 24, 2005

RE: 2105cr2011l-B
USA v. RAFAT MAWLAWI (C)

Dear Sir/Madarn:

A HEARING ON MOTION to Motion to Revoke Detention Order has been SET for
THURSDAY, JUNE 30, 2005 at 4:15 P.M. before Judge J. Daniel Breen, in Courtroom 1,
11"‘ Hoor of the Federal Building, Memphis, Tennessee.

THE COURT REQUESTS THAT DEFENSE COUNSEL PERSONALLY
CONTAC'[` THE DEFENDANT TO INSURE HIS/HER ATTENDANCE AT THE
DESIGNATED TIME .

If you have any questions about this matter, please contact the case manager at the
telephone number provided below.

Sincerely,
THOMAS M. GOULD, CLERK

BY; \MCLM<,@»/O

Taffy E}chlepp
Case Manager to Judge J. Daniel Breen
901-495-1238

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